Case 1:18-cv-00220-WES-PAS Document 1-3 Filed 04/20/18 Page 1 of 3 PageID #: 60




          EXHIBIT 3
Case 1:18-cv-00220-WES-PAS Document 1-3 Filed 04/20/18 Page 2 of 3 PageID #: 61



 STATE OF RHODE ISLAND                                                        SUPERIOR COURT
 PROVIDENCE, SC


 KYLE MELONE,                                  )
                                               )
                Plaintiff,                     )
                                               )
 V.                                            )                              C.A. NO. PC-18-1832
                                               )
 AMAZON FULFILLMENT SERVICES,                  )
 INC., LG ELECTRONICS U.S.A., INC.             )
 and KMG-IMPORTS, EEC                          )
                                               )
                Defendants.                    )



         NOTICE TO ADVERSE PARTY OF REMOVAL TO FEDERAL COURT

 TO:    Providence County Superior Court                       Robert J. McConnell, Esquire
        Civil Clerk’s Office                                   Vincent L. Green, Esquire
        250 Benefit St, Providence, RI 02903                   Motley Rice, EEC
        Providence, RI 02903                                   55 Cedar Street, Suite 100
                                                               Providence, RI 02903

        PLEASE TAKE NOTICE that defendant Amazon Fulfillment Services, Inc. has this day

 filed a Notice of Removal of the above-captioned matter from the Providence County Superior

 Court, State of Rhode Island, to the United States District Court for the District of Rhode Island,

 pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, containing a statement of facts which entitles it

 to remove the case to the District Court, together with a copy of all pleadings in its possession.

        Certified copies of all records, proceedings and docket entries in the Providence Superior

 Court shall be filed with the District Court pursuant to Local Rule 81.

        A copy of the Notice of Removal (without attachments) is attached hereto as Exhibit A.

 You are respectively advised that pursuant to 28 U.S.C. § 1446(d), the Providence Superior

 Court shall proceed no further in this action unless and until the action is remanded.
Case 1:18-cv-00220-WES-PAS Document 1-3 Filed 04/20/18 Page 3 of 3 PageID #: 62



                                                       AMAZON FULFILLMENT SERVICES,
                                                       INC.

                                                       By its Attorneys,

                                                       CAMPBELL CAMPBELL EDWARDS &
                                                       CONROY, P.C.

                                                       /s/ Christopher R. Howe_________
                                                       Christopher R. Howe (Bar #7629)
                                                       chowe@campbell-trial-lawvers.com
                                                       One Constitution Plaza, 3rd Floor
                                                       Boston, MA 02129
                                                       Tel: (617) 241-3000
                                                       Fax:(617) 241-5115

                                 CERTIFICATE OF SERVICE

          I, Christopher R. Howe, counsel for defendant Amazon Fulfillment Services, Inc., hereby
 certify that on April 20, 2018, the foregoing Notice of Removal was electronically filed with the
 Clerk using the Court’s electronic filing system (EFS), Odyssey File and Serve, which will send
 such notification of such filing to counsel of record. The foregoing document is also available for
 viewing and/or downloading from EFS

                                                       /s/ Christopher R. Howe
                                                       Christopher R. Howe




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